        IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF MISSOURI
                     ST. JOSEPH DIVISION

 United States of America,

                    Plaintiff;

               v.                           Case No. 18-6028-CV-SJ-ODS



 Real property located at 6513
 ridge road, parkville, missouri,
 64152, along with all its
 buildings, appurtenances, and
 improvements; et al.,

                    Defendants.



          UNITED STATES’ UNOPPOSED MOTION TO STAY
            CIVIL FORFEITURE ACTION FOR 90 DAYS
               WITH SUPPORTING SUGGESTIONS


      Plaintiff, United States of America, through its undersigned counsel,

moves the Court for entry of an order staying the proceedings in this action

for 90 days, pursuant to Title 18, United States Code, Section 981(g)(1),

because civil discovery will adversely affect the United States’ ability to

conduct a related criminal investigation involving claimants Patrick Michael

Dingle and Matthew L. Torgeson (“Claimants”).




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                          Supporting Suggestions

      The United States alleges in its Complaint in the above-captioned case

that the defendant real properties, bank accounts and financial accounts are

forfeitable to the United States because they were purchased or funded in

whole or in part with proceeds obtained from a scheme to defraud the

government by violating program regulations of the Service Disabled Veteran

Owned Business, the Veteran Owned Small Business, and Section 8(a) of the

Small Business Act. The purchases or funding of the properties involved

transactions or attempted transactions in violation of 18 U.S.C. §§ 1956, 1957

and 1960, that is money laundering, and the funds in the accounts and

investments or proceeds for the purchases of the properties are traceable to

violations of 18 U.S.C. § 1343, that is wire fraud. The United States is

conducting a parallel criminal investigation of these alleged violations, and

this investigation involves the Claimants. This investigation may lead to a

criminal indictment.

      Section 981(g)(1) of Title 18 of the United States Code provides thatB

             Upon the motion of the United States, the court
             shall stay the civil forfeiture proceeding if the court
             determines that civil discovery will adversely affect
             the ability of the Government to conduct a related
             criminal investigation or the prosecution of a
             related criminal case.




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      On or about March 6, 2018, agents with the United States Department

of Veteran Affairs, Defense Criminal Investigative Service, Internal Revenue

Service, United States General Services Administration, United States Army-

Criminal Investigation Division, United States Secret Service and United

States Department of Agriculture served search warrants on the businesses

of Zieson Construction Company, Simcon Corp., Onsite Construction Group,

and the personal residences of Patrick Michael Dingle and Rustin Simon. As

of this date, the agents are reviewing voluminous documents obtained during

execution of the search warrants. Computer forensic analysts are currently

uploading and sorting electronic data collected by computer imaging during

execution of the search warrants which includes images collected from two

large servers and several laptops. The investigation in the criminal case is

ongoing. The United States expects to make a determination whether to file

a criminal case in or about 90 days.

      On or about March 5, 2018, the United States filed the underlying civil

complaint regarding forfeiture of defendant properties. On or about April 17,

2018, Claimant Patrick Michael Dingle filed timely claims as to the following

defendant properties:

             6513 Ridge Road, Parkville, Missouri, 64152, together with all
             its buildings, appurtenances, and improvements and is more
             fully described as: All of Lot 88, THE NATIONAL – FIRST
             PLAT, Lots 1-89, Tracts A-X, a subdivision of land in Parkville,
             Platte County, Missouri. Subject to all easements, restrictions
             and reservations, if any, now of record;

             209 2nd Court, Palm Beach Gardens, Florida, 33410, together
             with all its buildings, appurtenances, and improvements and is
             more fully described as: Unit 209, Sandalwood Estates, P.U.D.,

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             according to the Plat thereof, recorded in Plat Book 32, Page(s)
             167, of the Public Records of Palm Beach County, Florida.
             Parcel ID Number 52-43-42-07-18-000-2090;

             MML Investors Services, LLC Account Number XXXXXX2585 in
             the name of Michael P. Dingle; and

             MML Investor Services, LLC Account Number XXXXXX2665 in
             the name of P Michael Dingle Revocable Trust, P Michael
             Dingle, Trustee.

      On or about April 17, 2018, Claimant Matthew L. Torgeson, as Trustee

for the Matthew L. Torgeson Trust, filed timely claims as to the following

defendant properties:

             Pershing LLC Account Number XXXXX8721 in the name of
             Matthew L. Torgeson Trust, UAD 03/15/10, Matthew L Torgeson
             TTEE, XXXXXXXXXXXX, TOPEKA KS 66606-1937; and

             Pershing LLC Account Number XXXXXX2203in the name of
             Matthew L. Torgeson Trust, XXXXXXXXX, TOPEKA KS 66606-
             1937.

       The United States submits that good cause exists to stay the civil

forfeiture proceedings pending outcome of the criminal investigation or

criminal charges. The factual basis supporting the criminal prosecution and
the factual basis supporting the Government's civil complaint in the instant

case stem from the same transactions. Both claimants filed timely claims in

the above-captioned civil forfeiture proceeding. The ongoing criminal

investigation would be hindered by proceeding with the civil forfeiture

proceedings at this juncture in the investigation. Therefore, the United

States submits that a 90 day stay in this civil forfeiture action is necessary.



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In addition, the defendant real properties are still in the possession of

Claimant Patrick Michael Dingle and will remain in his possession until the

conclusion of this civil action. Claimant Dingle, therefore, will not be

deprived of the use of the properties. Further, the defendant investment

accounts will continue to be monitored by third-party investment advisers.

The financial accounts held at Pershing to which claimant Torgeson filed a

claim remain under a pre-existing “stop-loss” agreement to protect account

value should the financial market experience a dramatic decline.

       Undersigned counsel has conferred with attorneys for Claimants and

they do not oppose a 90-day stay. The United States has agreed with

Claimants that answers to the Complaint will not have to be filed until ten

days after the stay is lifted.

       A stay of a civil case is required under Section 981(g)(1) if the ongoing

civil case would adversely affect a pending criminal investigation. United

States v. $144,210.77 in Funds Seized from Suntrust Bank Account XXX-XX-

XXXX, 63 F.Supp.3d 1387, 1390-91 (N.D.Ga. 2014) (court declines to lift stay

where federal criminal investigation was ongoing, was based on the same

facts as the civil forfeiture, and civil discovery would subject the

government’s criminal case to earlier and broader discovery). In this case,

the civil and criminal cases are based on the same set of facts, the civil

complaint references a confidential source whose identity remains

confidential and allowing civil discovery in this case would subject the United

States’ likely criminal case to earlier and broader discovery than required.




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                               CONCLUSION

      For the reasons set forth in this pleading, the United States requests

the Court stay this action pending the outcome of the related criminal

investigation and possible indictment and further order answers to the

above-captioned complaint due within ten days after the stay is lifted.


                                       Respectfully submitted,

                                       Timothy A. Garrison
                                       United States Attorney


Dated:   5/7/2018               By     /s/ Stacey Perkins Rock
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                                       Assistant United States Attorney
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                          CERTIFICATE OF SERVICE



       I hereby certify that on May 7, 2018, the foregoing motion was
electronically filed with the Clerk of the Court using the CM/ECF system.




                                        /s/ Stacey Perkins Rock
                                       Stacey Perkins Rock
                                       Assistant United States Attorney




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